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November 20, 2018
                                                                                  VIA CM/ECF

Hon. Elizabeth A. Wolford
United States District Judge
Kenneth B. Keating Federal Building
100 State Street
Rochester, New York 14614

       RE:     Fresh Air for the Eastside, Inc., et al., v. Waste Management of New York
               Civil Action No. 6:18-cv-06588

Dear Justice Wolford:

      We are the attorneys for Plaintiffs in the above-mentioned matter. Defendant Waste
Management of New York, L.L.C. (“WM”) filed a Motion to Dismiss on November 16, 2018
(Docket Nos. 9-11), and the Court has entered a text Scheduling Order for further briefing of that
Motion (Docket No. 12).

       The parties have conferred and wish to adjust the schedule for further briefing on the
Motion in light of other scheduling commitments, conflicts, and the upcoming Holidays, and
propose the following revised schedule on consent, subject to the Court’s approval:

      Plaintiffs will file their response to the Motion on or before December 21, 2018.
      WM will file its reply on or before January 11, 2019.

   If the Court has any questions please do not hesitate to contact me. Thank you for your
courtesies.

                                                    Respectfully submitted,

                                                    KNAUF SHAW LLP




                                                    LINDA R. SHAW
Cc: All Counsel via CM/ECF



Dated: ____________                                         SO ORDERED
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                                                            Hon. Elizabeth A. Woldford
